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                                                                              VANESSA L. ARMSTRONG. CLERK
                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY                            MAR31Z017
                                 LOUISVILLE DIVISION
                                                                              U.S. DISTRICT COURT
                                                                             WESTN. DIST. KENTUCKY
UNITED STATES OF AMERICA,                                                                  Plaintiff,

V.                                                            Criminal Action     o. 3: 16-cr-33-DJH

LOUIS CHARLTON,                                                                          Defendant.

                                            *****
                                     JURY INSTRUCTIONS

                                     INSTRUCTION NO. 1

        Members of the jury, now it is time for me to instruct you about the law that you must

follow in deciding this case.

        I will start by explaining your duties and the general rules that apply in every criminal

case.

        Then I will explain the elements, or parts, of the crimes that the defendant is accused of

committing.

        Then I will explain some rules that you must use in evaluating particular testimony and

evidence.

        And last, I will explain the rules that you must follow during your deliberations in the

jury room, and the possible verdicts that you may return.

        Please listen very carefully to everything I say. Please also note that a copy of these

written instructions will be provided to you.
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                                    INSTRUCTION NO. 2

       You have two main duties as jurors. The first one is to decide what the facts are from the

evidence that you saw and heard here in court. Deciding what the facts are is your job, not mine,

and nothing that I have said or done during this trial was meant to influence your decision about

the facts in any way.
       Your second duty is to take the law that I give you, apply it to the facts , and decide if the

government has proved the defendant guilty beyond a reasonable doubt. It is my job to instruct

you about the law, and you are bound by the oath that you took at the beginning of the trial to

follow the instructions that I give you, even if you personally disagree with them. This includes

the instructions that I gave you before and during the trial, and these instructions.        All the

instructions are important, and you should consider them together as a whole.

        The lawyers may have talked about the law during their arguments. But if what they said

 is different from what I say, you must follow what I say. What I say about the Jaw controls.

        Perform these duties fairly. Do not let any bias, sympathy or prejudice that you may feel

 toward one side or the other influence your decision in any way.




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                                        INSTRUCTION NO. 3

           As you know, the defendant has pleaded not guilty to the cnmes charged in the

 indictment. The indictment is not any evidence at all of guilt. It is just the formal way that the

government tells the defendant what crimes he is accused of committing. It does not even raise

any suspicion of guilt.

           Instead, the defendant starts the trial with a clean slate, with no evidence at all against

him, and the law presumes that he is innocent. This presumption of innocence stays with him

unless the government presents evidence here in court that overcomes the presumption, and

convinces you beyond a reasonable doubt that he is guilty.

           This means that the defendant has no obligation to present any evidence at all, or to prove

to you in any way that he is innocent. It is up to the government to prove that he is guilty, and

this burden stays on the government from start to finish. You must find the defendant not guilty

unless the government convinces you beyond a reasonable doubt that he is guilty.

           The government must prove every element of the crimes charged beyond a reasonable

doubt.      Proof beyond a reasonable doubt does not mean proof beyond all possible doubt.

Possible doubts or doubts based purely on speculation are not reasonable doubts. A reasonable

doubt is a doubt based on reason and common sense. It may arise from the evidence, the lack of

evidence, or the nature of the evidence.

           Proof beyond a reasonable doubt means proof which is so convincing that"you would not

hesitate to rely and act on it in making the most important decisions in your own lives. If you are

convinced that the government has proved the defendant guilty beyond a reasonable doubt, say

so by returning a guilty verdict.      If you are not convinced, say so by returning a not-guilty

verdict.



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                                     INSTRUCTION NO. 4

         You must make your decision based only on the evidence that you saw and heard here in

court. Do not let rumors, suspicions, or anything else that you may have seen or heard outside of

court influence your decision in any way.

         The evidence in this case includes only what the witnesses said while they were testifying

under oath; the exhibits that I allowed into evidence; and the stipulations that the lawyers agreed

to .
         Nothing else is evidence.    The lawyers' statements and arguments are not evidence.

Their questions and objections are not evidence. My legal rulings are not evidence. And my

comments and questions are not evidence.

         During the trial I did not let you hear the answers to some of the questions that the

lawyers asked. I also ruled that you could not see some of the exhibits that the lawyers wanted

you to see. And sometimes I ordered you to disregard things that you saw or heard, or I struck

 things from the record. You must completely ignore all of these things. Do not even think about

 them. Do not speculate about what a witness might have said or what an exhibit might have

 shown. These things are not evidence, and you are bound by your oath not to Jet them influence

 your decision in any way.

          Make your decision based only on the evidence, as I have defined it here, and nothing

 else.




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                                     INSTRUCTION NO. 5

       You should use your common sense in weighing the evidence. Consider it in light of

your everyday experience with people and events, and give it whatever weight you believe it

deserves. If your experience tells you that certain evidence reasonably leads to a conclusion, you

are free to reach that conclusion.




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                                        INSTRUCTION NO. 6

       Now, some of you may have heard the terms "direct evidence" and "circumstantial


evidence."
        Direct evidence is simply evidence like the testimony of an eyewitness which, if you

believe it, directly proves a fact. If a witness testified that he saw it raining outside, and you

believed him, that would be direct evidence that it was raining.

        Circumstantial evidence is simply a chain of circumstances that indirectly proves a fact.

If someone walked into the courtroom wearing a raincoat covered with drops of water and

carrying a wet umbrella, that would be circumstantial evidence from which you could conclude


 that it was raining.
         It is your job to decide how much weight to give the direct and circumstantial evidence.

 The law makes no distinction between the weight that you should give to either one, or say that

 one is any better evidence than the other. You should consider all the evidence, both direct and

 circumstantial, and give it whatever weight you believe it deserves.




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                                      INSTRUCTION NO. 7

       Another part of your job as jurors is to decide how credible or believable each witness

was. This is your job, not mine. It is up to you to decide if a witness's testimony was believable,

and how much weight you think it deserves. You are free to believe everything that a witness

said, or only part of it, or none of it at all. But you should act reasonably and carefully in making


these decisions.
        Let me suggest some things for you to consider in evaluating each witness's testimony.

        (A)     Ask yourself if the witness was able to clearly see or hear the events. Sometimes

even an honest witness may not have been able to see or hear what was happening, and may


 make a mistake.
         (B)       Ask yourself how good the witness's memory seemed to be.            Did the witness

 seem able to accurately remember what happened?

         (C)       Ask yourself if there was anything else that may have interfered with the

 witness's ability to perceive or remember the events.

         (D)       Ask yourself how the witness acted while testifying.        Did the witness appear

  honest? Or did the witness appear to be lying?

         (E)       Ask yourself if the witness had any relationship to the government or the

  defendant, or anything to gain or lose from the case, that might influence the witness's

  testimony. Ask yourself if the witness had any bias, or prejudice, or reason for testifying that

  might cause the witness to lie or to slant the testimony in favor of one side or the other.

          (F)       Ask yourself if the witness testified inconsistently while on the witness stand, or if

   the witness said or did something (or failed to say or do something) at any other time that is

   inconsistent with what the witness said while testifying. If you believe that the witness was



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 inconsistent, ask yourself if this makes the witness's testimony less believable. Sometimes it

may; other times it may not.           Consider whether the inconsistency was about something

important, or about some unimportant detail. Ask yourself if it seemed like an innocent mistake,

or if it seemed deliberate.

          (G)    And ask yourself how believable the witness's testimony was in light of all the

other evidence. Was the witness's testimony supported or contradicted by other evidence that

you found believable?         If you believe that a witness's testimony was contradicted by other

evidence, remember that people sometimes forget things, and that even two honest people who

witness the same event may not describe it exactly the same way.

          These are only some of the things that you may consider in deciding how believable each

witness was. You may also consider other things that you think shed some light on the witness's

believability.   Use your common sense and your everyday experience in dealing with other

people.     And then decide what testimony you believe, and how much weight you think it

deserves.




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                                   INSTRUCTION NO. 8

       One more point about the witnesses.       Sometimes jurors wonder if the number of

witnesses who testified makes any difference.

       Do not make any decisions based only on the number of witnesses who testified. What is

more important is how believable the witnesses were, and how much weight you think their

testimony deserves . Concentrate on that, not the numbers.




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                                        INSTRUCTION NO. 9

        There is one more general subject that I want to talk to you about before I begin

explaining the elements of the crimes charged.

        The lawyers for both sides objected to some of the things that were said or done during

the trial. Do not hold that against either side. The lawyers have a duty to object whenever they

think that something is not permitted by the rules of evidence. Those rules are designed to make

sure that both sides receive a fair trial.

        And do not interpret my rulings on their objections as any indication of how I think the

case should be decided. My rulings were based on the rules of evidence, not on how I feel about

the case. Remember that your decision must be based only on the evidence that you saw and

heard here in court.




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                                      INSTRUCTION NO. 10

        That concludes the part of my instructions explaining your duties and the general rules

 that apply in every criminal case. In a moment, I will explain the elements of the crimes that the

defendant is accused of committing.

        But before I do that, I want to emphasize that the defendant is only on trial for the

particular crimes charged in the indictment.        Your job is limited to deciding whether the

government has proved the crimes charged.




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                                    INSTRUCTION NO. 11

       The defendant has been charged with several crimes. The number of charges is no

evidence of guilt, and this should not influence your decision in any way . It is your duty to

separately consider the evidence that relates to each charge, and to return a separate verdict for

each one. For each charge, you must decide whether the government has presented proof beyond

a reasonable doubt that the defendant is guilty of that particular charge.

        Your decision on one charge, whether it is guilty or not guilty, should not influence your

decision on any of the other charges.




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                                      INSTRUCTION NO . 12

        Count 1 of the indictment accuses the defendant of di stributing cocaine base, commonl y

referred to as "crack cocaine." Cocaine base is a _controll ed substance. For you to find the

defendant guilty of this crime, you must be convinced that the government has proved each and

every one of the following elements beyo nd a reasonable doubt:

        (A)     First, that the defendant knowingly or intentionall y di stributed cocaine base.

        (B)     Second, that the defendant knew at the time of distribution that the substance was

        a controll ed substance.

(2) Now I will give you more instructi ons on some of these te rms.

        To prove that the defendant know ingly distributed the cocaine, the defendant did not have

to know that the substance was cocaine. It is enough that the defend ant knew that it was some

kind of controll ed substance. Further, the defendant did not have to know how much cocaine he

distributed. It is enough that the defend ant knew that he di stributed some quantity of cocaine.

        The term "di stribute'' means the defendant de li vered or transferred a controll ed

substance. The term di stribute includes the actual, constructi ve, or attempted transfer of a

controll ed substance. The term distribute includes the sale of a contro ll ed s ubstance.

       In determining whether the defendant kn owingly or intentio nall y di stri buted a contro ll ed

substance, you m ay consider all the facts and circumstances shown by the evidence, includ ing

the defendant's words and actions. Intent to distrib ute may be inferred from the possession of a

large quantity of dru gs, too large for personal use alone. You may also consider the estimated

street value of the dru gs, the puri ty of the dru gs, the manner in whi ch the drugs were packaged,

the p resence or absence of a large amount of cash, the presence or absence of weapons, and the




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presence or absence of equipment used for the sale of drugs. The law does not require you to

draw such an inference, but you may draw it.
(3)   If you are convinced that the government has proved all of these elements, say so by

returning a guilty verdict on this charge. If you have a reasonable doubt about any one of these

elements, then you must find the defendant not guilty of this charge.




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                                     INSTRUCTION NO. 13

        Count 2 of the indictment accuses the defendant of carrying a firearm during and in

relation to a drug trafficking crime in violation of federal law. For you to find the defendant

guilty of this crime, you must be convinced that the government has proved each and every one

of the following elements beyond a reasonable doubt:

        (A)    First, that the defendant committed the crime charged in Count 1. Distribution of

        a controlled substance is a drug trafficking crime which may be prosecuted in a court of

        the United States.

        (B)    Second, that the defendant knowingly carried a firearm.

        (C)     Third, that the carrying of the firearm was during and in relation to the crime

        charged in Count 1.

(2) Now I will give you more instructions on some of these terms.

        "Carrying" a firearm includes carrying it on or about one's person.

        The term "firearm" means any weapon which will or is designed to or may readily be

converted to expel a projectile by the action of an explosive. The firearm need not be loaded.

       The term "during and in relation to" means that the firearm must have some purpose or

effect with respect to the crime charged in Count 1; in other words, the firearm must facilitate or

further, or have the potential of facilitating or furthering the crime charged in Count 1, and its

presence or involvement cannot be the result of accident or coincidence.

       The term "knowingly" means voluntarily and intentionally, and not because of mistake or

accident.




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(3)   If you are convinced that the government has proved all of these elements, say so by

returning a guilty verdict on this charge. If you have a reasonable doubt about any of these

elements, then you must find the defendant not guilty of this charge.




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                                     INSTRUCTION NO. 14

        Count 3 of the indictment accuses the defendant of possess ing cocaine with intent to

distribute in violation of federal law. Cocaine is a controlled substance. For you to find the

defendant guilty of this crime, you must be convinced that the government has proved each and

every one of the followi ng elements beyond a reasonable doubt:

        (A)     First, that the defendant knowingly or intentionally possessed cocaine.

        (B)     Second, the defendant intended to distribute cocaine.

(2) Now I will give you more instructions on some of these terms.

        To prove that the defendant "knowingly" possessed the cocaine. the defendant did not

have to know that the substance was cocaine. It is enough that the defendant knew that it was

some kind of controlled substance. Further, the defendant did not have to know how much

cocaine he possessed . It is enough that the defendant knew that he possessed some quantity of

coca me.

       The phrase " intended to distribute" means the defendant intended to deliver or transfer a

contro lled substance sometime in the future. The term distribute includes the actual, constructive,

or attempted transfer of a controlled substance. To distribute a control led s ubstance, there need

not be an exchange of money.

       In determining whether the defendant had the intent to distribute, you may consider all

the facts and circumstances shown by the evidence, including the defendant's words and actions .

Intent to distribute can be inferred from the possession of a large quantity of drugs, too large for

personal use alone. You may also consider the estimated street value of the drugs, the purity of

the drugs, the manner in which the dru gs were packaged, the presence or absence of a large

amount of cash, the presence or absence of weapons, and the presence or absence of equipment



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used for the sale of drugs. The law does not require you to draw such an inference, but you may

draw it.

(3) If you are convinced that the government has proved all of these elements, say so by

returning a guilty verdict on this charge. If you have a reasonable doubt about any one of these

elements, then you must find the defendant not guilty of this charge.




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                                     INSTRUCTION NO. 15

        Count 4 of the indictment accuses the defendant of possessing marijuana with intent to

distribute in violation of fed eral law . Marijuana is a controlled substance. For you to find the

defendant guilty of this crime, you must be convinced that the government has proved each and

every one of the following elements beyond a reasonable doubt:

        (A)     First, that the defendant knowingly or intentionally possessed marijuana.

        (B)     Second, the defendant intended to distribute marijuana.

(2) Now I will give you more instructions on some of these terms.

        To prove that the defendant "knowingly" possessed the marijuana, the defendant did not

have to know that the substance was marijuana. It is enough that the defendant knew that it was

some kind of controlled substance. Further, the defendant did not have to know how much

marijuana he possessed. It is enough that the defendant knew that he possessed some quantity of

marijuana.

        The phrase "intended to distribute" means the defendant intended to deliver or transfer a

controlled substance sometime in the future. The term di tribute includes the actual, constructive,

or attempted transfer of a controlled substance. To d istribute a controlled substance, there need

not be an exchange of money.

       In determining whether the defendant had the intent to di stribute, you may consider all

the facts and circumstances shown by the ev idence, including the defendant's words and actions.

Intent to distribute can be inferred from the possession of a large quantity of dru gs, too large for

personal use alone. You may also consider the estimated street value of the drugs, the purity of

the drugs, the manner in which the drugs were packaged, the presence or absence of a large

amount of cash, the presence or absence of weapons, and the presence or absence of equipment



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used for the sale of drugs. The law does not require you to draw such an inference, but you may


draw it.
(3) If you are convinced that the government has proved all of these elements, say so b y

returning a guilty verdict on this charge. If you have a reasonable doubt about any one of these

elements, then you must find the defendant not guilty of this charge.




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                                      INSTRUCTION NO. 16

        Count 5 of the indictment accuses the defendant of possessing cocaine base, commonly

referred to as "crack cocaine," with intent to distribute in violation of federal law. Cocaine base

is a controlled substance.    For you to find the defendant guilty of this crime, you must be

convinced that the government has proved each and every one of the following elements beyond

a reasonable doubt:

        (A)     First, that the defendant knowingly or intentionally possessed cocaine base.

        (B) .   Second, the defendant intended to distribute cocaine base.

(2) Now I will give you more instructions on some of these terms.

        To prove that the defendant "knowingly'' possessed the cocaine base, the defendant did

not have to know that the substance was cocaine base. It is enou gh that the defendant knew that

it was some kind of controlled substance. Further, the defendant did not have to know how

much cocaine base he possessed . It is enough that the defendant knew that he possessed some

quantity of cocaine base.

        The phrase " intended to distribute'' means the defendant intended to deliver or transfer a

controlled substance sometime in the future . The term distribute includes the actual, constructive,

or attempted transfer of a controlled substance. To distribute a controlled substance, there need

not be an exchange of money.

       In determining whether the defendant had the intent to distribute, you may consider all

the facts and circumstances shown by the ev idence, including the defendant' s words and actio ns.

Intent to distribute can be inferred from the possess ion of a large quantity of drugs, too large for

personal use alony. You may also consider the estimated street value of the drugs. the purity of

the dru gs, the manner in which the drugs were packaged, the presence or absence of a large



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amount of cash, the presence or absence of weapons, and the presence or absence of equipment

used for the sale of drugs. The law does not require you to draw such an inference, but you may

draw it.

(3) If you are convinced that the government has proved all of these elements, say so by

returning a guilty verdict on this charge. If you' have a reasonable doubt about any one of these

elements, then you must find the defendant not guilty of this charge.




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                                         INSTRUCTION NO. 17

        Count 6 of the indictment accuses the defendant of possessing a firearm in furtherance of

a drug trafficking crime in violation of federal law. For you to find the defendant guilty of this

crime, you must be convinced that the government has proved each and every one of the

following elements beyond a reasonabl e doubt:

        (A)     First, that the defendant committed the crime charged in Count 3, 4, or 5.

        Possession with the intent to distribute a controlled substance is a drug trafficking crime

        which may be prosecuted in a court of the United States.

        (B)     Second, that the defendant knowingl y possessed a firearm.

        (C)      Third, that the possession of the firearm was in furtherance of the crime charged

        in Count 3, 4, or 5.

(2) Now I will give you more instructi ons on some of these terms.

        The term "firearm" mean any weapon which wi ll or is des igned to or may readily be

converted to expel a projecti le b y the action of an explosive. The firearm need not be loaded.

        The term "knowingly" means voluntari ly and intentionally, and not because of mi stake or

accident.

        The term "in furtherance of" mea ns that the firea rm was possessed to advance or promote

the crime charged in Count 3, 4, or 5 and that the firearm was strategically located so that it was

quickly and ea ily availabl e for use.

(3)   If yo u are convinced that the government has prov ed all of these elements, say so by

returnin g a guilty verdict on th is charge. If yo u have a reasonable doubt about any of these

elements, then you must find the defendant not guilty of this charge.




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                                        INSTRUCTION NO. 18

          Count 7 of the indictment accuses the defendant of being a convicted felon in possession

  of a fireann in violation of federa l law. For you to f ind the defendant guilty of this crime, you

  must find that the government has proved each and every one of the fo ll owing elements beyond a

  reasonab le doubt:

          (A)     First, that the defendant has been convicted of a cnme puni shabl e by

          impri sonment for more than one year. The governm ent and the defendant have agreed

          that defendant has previously been convicted of a crime punishable by imprisonment for

          more than one year.

          (B)     Second, that the defendant, foll owing hi s conviction, knowingly possessed a

          firearm specified in the indictment.

          (C)    Third, that the spec ified firearm crossed a state I ine prior to the alleged

          possession. It is sufficient for this element to show that the f irearm was man ufactured in a

          state other than Kentucky.

  (2)   ow I will give you more detailed instructions on some of these elements.

          The term "fi rearm " means any weapon which will or is designed to or may readily be

 converted to expel a projectile by the action of an ex plos ive.

          The tenn "knowingly" means vo luntarily and intentionally, and not because of mistake or

 accident.

 (3) If you are conv inced that the governm ent has proved all of these elements, say so by

 returnin g a guilty verdict on this charge. If yo u have a reasonab le doubt about any one of these

 elements, then yo u must find the defendant not gui lty of this charge.




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                                         INSTRUCTION NO. 19

         Nex t, I want to expl ain something about possess ion. The government does not necessarily

 have to prove that the defendant phys icall y possessed the firearm for yo u to f ind him guilty of

the crime charged in Count 3, 4, 5, 6, or 7. The law recogni zes two kinds of possess ion-actual

possess ion and constructi ve possess ion. E ither one of these, if proved by the government, is

enough to convict.

         To establish actual possess ion, the government must prove that the defendant had direct,

ph ys ical control over the drug or firearm , and knew that he had control of it.

        To estab lish constru ctive possess ion, the government must prove that the defendant had

the ri ght to exercise phys ical control over the dru g or firearm , and knew that he had this right,

and that he intended to exerc ise phys ical control over the drug or firearm at some time, either

directly or through other persons.

        For exampl e, if yo u left something with a fri end intending to co me back later and pick it

up, or intending to send someone else to pick it up fo r you, you wo uld have constructive

possession of it whil e it was in the actual possess ion of your fri end .

        But understand that just being present where something IS located does not equal

possess ion. The government must prove that the defendant had actual or constructive possess ion

of the drug or fi rearm, and knew that he did , for yo u to find him guilty of Count 3, 4, 5, 6, or 7.

This, of course, is all fo r yo u to decide.




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                                   INSTRUCTION NO. 20

       Next, I want to say a word about the date mentioned in the indictment.

       The indictment charges that the crimes happened "on or about" November 16, 2015. The

government does not have to prove that the crimes happened on that exact date.     But the

government must prove that the crimes happened reasonably close to that date.




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                                     INSTRUCTION NO. 21

       Next, I want to explain something about proving a defendant's state of mind.

       Ordinarily, there is no way that a defendant's state of mind can be proved directly,

because no one can read another person's mind and tell what that person is thinking.

       But a defendant's state of mind can be proved indirectly from the surrounding

circumstances. This includes things like what the defendant said, what the defendant did, how

the defendant acted, and any other facts or circumstances in evidence that show what was in the


defendant's mind.
        You may also consider the natural and probable results of any acts that the defendant

 knowingly did, and whether it is reasonable to conclude that the defendant intended those results.

 This, of course, is all for you to decide.




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                                    INSTRUCTION NO. 22

       Although the indictment charges that the statute was violated by acts that are connected

by the word "and," it is sufficient if the evidence establishes a violation of the statute by any one

of the acts charged. Of course, this must be proved beyond a reasonable doubt.




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                                   INSTRUCTION NO. 23

       That concludes the part of my instructions explaining the elements of the crimes. Next I

will explain some rules that you must use in considering some of the testimony and evidence.




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                                       INSTRUCTION NO. 24

         A defendant has an absolute right not to testify. The fact that he did not testify cannot be

  considered by you in any way. Do not even discuss it in your deliberations.

         Remember that it is up to the government to prove the defendant guilty beyond a

  reasonable doubt. It is not up to the defendant to prove that he is innocent.




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                                      INSTRUCTION NO. 25

(1) You have heard the testimony of Special Agent David Hayes who testified as an opinion

witness.

(2) You do not have to accept his opinion. In deciding how much weight to give it, you should

consider the witness's qualifications and how he reached his conclusions. Also consider the other

factors discussed in these instructions for weighing the cred ibility of witnesses .

(3) Remember that you alone decide how much of a w itness's testi mony to believe, and how

much weight it deserves.




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                                    INSTRUCTION NO. 26

(1) You have heard the testimony of Special Agent Brad Leveritt, Robert Krefft, and Robert

Holbrook who testified to both facts and opinions. Each of these types of testimony should be

given the proper weight.

(2) As to the testimony on facts, consider the factors discussed earlier in these instructions for

weighing the credibility of witnesses.

(3) As to the testimony on opinions, you do not have to accept his opinion. In deciding how

much weight to give it, you hould consider the witness ' s qualifications and how he reached his

conclusions along with the other factors discussed in these instructions for weighi ng the

credibility of witnesses.

(4) Remember that you alone decide how much of a witness's testimony to believe, and how

much weight it deserves.




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                                    INSTRUCTION NO. 27

       That concludes the part of my instructions explaining the rules for considering some of

the testimony and evidence.     Now let me finish up by explaining some things about your

deliberations in the jury room, and your possible verdicts.

       The first thing that you should do in the jury room is choose someone to be your

foreperson. This person will help to guide your discussions, and will speak for you here in court.

       Once you start deliberating, do not talk to the jury officer, or to me, or to anyone else

except each other about the case. If you have any questions or messages, you must write them

down on a piece of paper, sign them, and then give them to the jury officer. The officer will give

them to me, and I will respond as soon as I can. I may have to talk to the lawyers about what

you have asked, so it may take me some time to get back to you . Any questions or messages

normally should be sent to me through your foreperson.

       One more thing about messages. Do not ever write down or tell anyone, including me,

how you stand on your votes. For example, do not write down or tell anyone that you are split 6-

6, or 8-4, or whatever your vote happens to be. That should stay secret until you are finished.

       With the exception of the firearms or alleged drugs, the exhibits that were admitted in

evidence will be provided to you. If you want to see any of the firearms or alleged drugs that

were admitted in evidence, you may send me a message, and those exhibits will be provided to

you.




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                                       INSTRUCTION NO. 28

         Remember that you must make your decision based only on the evidence that you saw

 and heard here in court.

         During your deliberations, you must not communicate with or provide any information to

 anyone by any means about this case. You may not use any electronic device or media, such as a

 telephone, cell phone, smart phone, or computer, the Internet, any Internet service, or any text or

 instant messaging service, any Internet chat room, blog, or website such as Facebook, Instagram,

 Linkedin, YouTube, Snapchat, or Twitter, to communicate to anyone any information about this

 case or to conduct any research about this case until I accept your verdict. In other words, you

 cannot talk to anyone on the phone, correspond with anyone, or electronically communicate with

 anyone about this case. You can only discuss the case in the jury room with your fellow jurors

 during deliberations. I expect you will inform me immediately if you become aware of another

 juror's violation of these instructions.

         You may not use these electronic means to investigate or communicate about the case

 because it is important that you decide this case based solely on the evidence presented in this

 courtroom.    Information on the Internet or available through social media might be wrong,

 incomplete, or inaccurate. You are only permitted to discuss the case with your fellow jurors

 during deliberations because they have seen and heard the same evidence you have. In our

judicial system, it is important that you are not influenced by anything or anyone outside of this

courtroom. Otherwise, your decisiorrmay be based on information known only by you and not

your fellow jurors or the parties in the case. This would unfairly and adversely impact the

judicial process.    A juror who violates these restrictions jeopardizes the fairness of these

proceedings, and a mistrial could result, which would require the entire trial process to start over.



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                                   INSTRUCTION NO. 29

       Your verdict, whether it is guilty or not guilty, must be unanimous as to each count.

       To find the defendant guilty of a particular count, every one of you must agree that the

government has overcome the presumption of innocence with evidence that proves his guilt

beyond a reasonable doubt.

       To find him not guilty of a particular count, every one of you must agree that the

government has failed to convince you beyond a reasonable doubt.

       Either way, guilty or not guilty, your verdict must be unanimous as to each count.




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                                          INSTRUCTION NO . 30

             Now that all the evidence is in and the arguments are completed, you are free to talk

      about the case in the jury room. In fact, it is your duty to talk with each other about the evidence,

      and to make every reasonable effort you can to reach unanimous agreement. Talk with each

      other, listen carefully and respectfully to each other's views, and keep an open mind as you listen

      to what your fellow jurors have to say. Try your best to work out your differences. Do not

      hesitate to change your mind if you are convinced that other jurors are right and that your


       original position was wrong.
               But do not ever change your mind just because other jurors see things differently, or just

       to get the case over with. In the end, your vote must be exactly that: your own vote. It is

       important for you to reach unanimous agreement, but only if you can do so honestly and in good


       conscience.
               No one will be allowed to hear your discussions in the jury room, and no record will be

        made of what you say. So you should all feel free to speak your minds .

                Listen carefully to what the other jurors have to say, and then decide for yourself if the

        government has proved the defendant guilty beyond a reasonable doubt.




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                                    INSTRUCTION NO. 31

       If you decide that the government has proved the defendant guilty, then it will be my job

to decide what the appropriate punishment should be.

       Deciding what the punishment should be is my job, not yours . It would violate your

oaths as jurors to even consider the possible punishment in deciding your verdict.

       Your job is to look at the ev idence and decide if the government has proved the defendant

guilty beyond a reasonable doubt.




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                                    INSTRUCTION NO. 32

       I have prepared a verdict form that you should use to record your verdict. It is the last

page of these instructions.

       If you decide that the government has proved the charge against the defendant beyond a

reasonable doubt, say so by having your foreperson mark the appropriate place on the form. If

you decide that the government has not proved the charge against him beyond a reasonable

doubt, say so by having your foreperson mark the appropriate place on the form.            Your

foreperson should then sign the form, put the date on it, and return it to me.




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                                INSTRUCTION NO. 33

      Remember that the defendant is only on trial for the particular crimes charged in the

indictment. Your job is limited to deciding whether the government has proved the crimes

charged.




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                                  INSTRUCTION NO. 34

       Let me finish up by repeating something that I said to you earlier. Nothing that I have

said or done during this trial was meant to influence your decision in any way. You decide for

yourselves if the government has proved the defendant guilty beyond a reasonable doubt.




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                                   INSTRUCTION NO. 35

        Remember that if you elected to take notes during the trial, your notes should be used

only as memory aids . You should not give your notes greater weight than your independent

recollection of the evidence. You should rely upon your own independent recollection of the

evidence or lack of evidence and you should not be unduly influenced by the notes of other

jurors. Notes are not entitled to any more weight than the memory or impression of each juror.

        Whether you took notes or not, each of you must form and express your own opinion as

to the facts of the case.




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